Case 2:22-cv-05001-BRM-JRA Document 1-1 Filed 08/10/22 Page 1 of 1 PagelD: 7
CIVIL COVER SHEET

The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM)

1. (a) PLAINTIFFS mQRERNDANT, cS, VICTORIA L. KUHN, in her capaaty as the Cony

JS 44 (Rev. 04/21)

issianer of Ihe New J jersey Department

of Corrections: and, WILLIE BONDS in his spay | Assiseant G Con imrissioner for the Department of Qperations: er ad DAM
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ad CORRES 2 al capacity and, COR
ACEBO, both persor 5 copanty “ane NRRECHONS OFFICER VARGAS, boll: personaly andl his
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TREASEHEGT REUBRGE

(b) County of Residence of First Listed Plaintiff Middlesex ORFS ESCH Bete haart OY oe In her clfcial capacity
(EXCEPT IN U.S. PLAINTIFF CASES) (IN U.S. PLAINTIFF CASES ONLY)
NOTE: INLAND CONDEMNATION CASES, USE THE LOCATION OF

THE TRACT OF LAND INVOLVED.
Micklesex
(c) Attomeys (Firm Name, Address, and Telephone Number)
Michael J Glassman & Asse. 1405 Laurel Oak Road. Sule 140, Voorhees, NJ 08043

Attorneys (if Known)

II. BASIS OF JURISDICTION (Place an “X” in One Box Only) HI. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X" in One Box for Plaintiff
(For Diversity Cases Only) and One Box for Defendant)
LC] 1 U.S. Government )3 Federal Question PTF DEF PTF DEF
Plaintiff (U.S. Government Not a Party) Citizen of This State @ @®D 1 incorporated or Principal Place []4 [4
of Business In This State
2 U.S. Government C 4 Diversity Citizen of Another State LJ 2 CL 2 Incorporated and Principal Place O 5 CT 5
Defendant (Indicate Citizenship of Parties in Item II) of Business In Another State
Citizen or Subject of a C 3 L] 3 Foreign Nation CL] 6 C 6
Foreign Country
IV. NATURE OF SUIT (Place an “x” in One Box Only) Click here for: Nature of Suit Code Descriptions.
[ CONTRACT TORTS FORFEITURE/PENALTY BANKRUPTCY. Snes rere aa]
110 Insurance PERSONAL INJURY PERSONAL INJURY  [_]625 Drug Related Seizure 422 Appeal 28 USC 158 375 False Claims Act
120 Marine 310 Airplane O 365 Personal Injury - of Property 21 USC 881 423 Withdrawal 376 Qui Tam (31 USC
130 Miller Act 315 Airplane Product Product Liability | 690 Other 28 USC 157 372%(a))
140 Negotiable Instrument Liability C 367 Health Care/ INTELLECTUAL 400 State Reapportionment
[| 150 Recovery of Overpayment 320 Assault, Libel & Pharmaceutical PROPERTY RIGHTS 410 Antitrust
& Enforcement of Judgment! Slander Personal Injury 820 Copyrights 430 Banks and Banking
151 Medicare Act 330 Federal Employers’ Product Liability 830 Patent 450 Commerce
H 152 Recovery of Defaulted Liability [_] 368 Asbestos Personal | 835 Patent - Abbreviated 460 Deportation
Student Loans 340 Marine Injury Product New Drug Application 470 Racketeer Influenced and
(Excludes Veterans) 345 Marine Product Liability | 840 Trademark Corrupt Organizations
[_] 153 Recovery of Overpayment Liability PERSONAL PROPERTY LABOR 880 Defend Trade Secrets |_| 480 Consumer Credit
of Veteran’s Benefits 350 Motor Vehicle 370 Other Fraud 710 Fair Labor Standards Act of 2016 (15 USC 1681 or 1692)
[_] 160 Stockholders’ Suits 355 Motor Vehicle H 371 Truth in Lending Act |_] 485 Telephone Consumer
[_] 190 Other Contract Product Liability [_] 380 Other Personal |] 720 Labor/Management [SOCIAL SECURITY. Protection Act
195 Contract Product Liability 360 Other Personal Property Damage Relations 861 HIA (1395ff) 490 Cable/Sat TV
196 Franchise Injury C 385 Property Damage 740 Railway Labor Act 862 Black Lung (923) 850 Securities/Commodities
362 Personal Injury - Product Liability 751 Family and Medical 863 DIWC/DIWW (405(g)) Exchange
Medical Malpractice Leave Act 864 SSID Title XVI | 890 Other Statutory Actions
REAL PROPERTY CIVIL RIGHT: PRISONER PETITIONS 790 Other Labor Litigation [_] 865 RSI (405(g)) |_| 891 Agricultural Acts
210 Land Condemnation 40 Other Civil Rights Habeas Corpus: |_]791 Employee Retirement | 893 Environmental Matters
220 Foreclosure 441 Voting 463 Alien Detainee Income Security Act iTS 895 Freedom of Information
230 Rent Lease & Ejectment 442 Employment 310 Motions to Vacate t | 870 Taxes (U.S. Plaintiff Act
240 Torts to Land 443 Housing/ Sentence or Defendant) 896 Arbitration
245 Tort Product Liability Accommodations [ | 530 General C] 871 IRS—Third Party 899 Administrative Procedure
290 All Other Real Property  [__] 445 Amer. w/Disabilities -[ ] 535 Death Penalty | IMMIGRATION. | 26 USC 7609 Act/Review or Appeal of
Employment Other: 462 Naturalization Application Agency Decision
|_| 446 Amer. w/Disabilities -] | $40 Mandamus & Other 465 Other Immigration | 950 Constitutionality of
Other 550 Civil Rights Actions State Statutes
|_| 448 Education 555 Prison Condition
560 Civil Detainee -
Conditions of
Confinement

VY. ORIGIN (Place an “X” in One Box Only)

1 Original
O Proceeding

2 Removed from
State Court

oO 3. Remanded from

Appellate Court Reopened

4 Reinstated or 5 Transferred from
O O Another District

(specify)

Transfer

6 Multidistrict
Litigation -

oO 8 Multidistrict
Litigation -
Direct File

VI. CAUSE OF ACTION

Cite the U U. S.. Civil Statute under which you are filing (Do not cite jurisdictional
AQUSC se0 |

unless di

ity):

Brief description of cause:

Plaintil was excessively beaten and punished by corrections offeers for a minor infraction dus to his perceived sexual preference and ihe calely unreasonable tesning and oversight they received.

VIL. REQUESTED IN = (] CHECK IF THIS IS A CLASS ACTION DEMAND $ CHECK YES only if demanded in complaint:

COMPLAINT: UNDER RULE 23, F.R.Cv.P. JURY DEMAND: —[@¥es_ No
VI. RELATED CASE(S)

(See instructions):

IF ANY JUDGE DOCKET NUMBER

DATE Al SIGNATURE OF ATTORNEY OF RECORD.
| F072 Zz
FOR OFFICE'USE ONLY oo
RECEIPT # AMOUNT APPLYING IFP JUDGE MAG. JUDGE

